Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 1 of 9 PageID #: 566




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  TROYCE MANASSA, individually and on
  behalf of all others similarly situated,

                     Plaintiff,

          v.
                                                           Case No. 1:20-cv-03172-RLY-MJD
  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION,

                      Defendant.

                    JOINT REPORT ON THE STATUS OF DISCOVERY

        Pursuant to the Court’s October 4, 2021, Scheduling Order (Dkt. No. 47) and February 9,

 2022 Minute Entry (Dkt. No. 79), the parties jointly submit the following Joint Report on the Status

 of Discovery.

 1. A detailed description of all discovery completed within the preceding 28 days.

        On February 21, 2022, the NCAA made a supplemental document production containing

 337 documents totaling 7,934 pages of documents.

        On February 28, 2022, the NCAA made a supplemental document production containing

 74 documents totaling 5,594 pages of documents. The NCAA also produced First Supplemental

 Objections and Answers to Plaintiff’s Interrogatories on February 28, 2022.

 Plaintiff:

        On February 28, 2022, Plaintiff served its Objections and Responses to Defendant’s

 Second Set of Requests for Production of Documents, Requests for Admission, and

 Interrogatories.




                                                 -1-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 2 of 9 PageID #: 567




 2. A detailed description of all discovery presently scheduled or pending, including the due
    dates for any pending discovery requests and the scheduled dates for any depositions,
    and the identity of the counsel responsible for completing such discovery.

 Plaintiff:

        1) Plaintiff served a third-party subpoena on the CCA on February 7, 2022. After multiple

 communications from Defendant NCAA’s counsel purportedly on behalf of CCA, which Plaintiff

 declined, Plaintiff ultimately received communication directly from CCA’s counsel and agreed to

 a 14-day extension to respond to the subpoena. The new response date is now March 9, 2022. To

 date, Plaintiff has not received any responsive documents from the CCA;

        2) Plaintiff agreed to hold the NCAA 30(b)(6) deposition, served on Defendant on February

 3, 2022, in abeyance pending Defendant’s “rolling production” representations. To date,

 Defendants have produced approximately 21,000 pages of documents. The majority of these

 documents are publicly available manuals spanning hundreds of pages. However, none of the

 21,000 plus pages of documents have been identified to Plaintiff as to which documents requests

 they are responsive nor have they been identified by subject matter. Plaintiff disagrees with

 Defendant’s position that all 21,000+ documents and the documents anticipated to be produced on

 a “rolling basis” in the future are in compliance with its obligations under Rule 34 (see No. 3

 below);

        3) Plaintiff continues to be concerned with the limited information Defendant has provided

 to date regarding its proposed method of document production and just provided information

 regarding custodians. The parties continue to discuss these issues;

        4) Plaintiff served a third-party subpoena duces tecum on Savannah State University

 (“SSU”) on February 14, 2022. Plaintiff has been in ongoing discussions with SSU regarding its

 production;



                                                 -2-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 3 of 9 PageID #: 568




        5) Plaintiff served a third-party subpoena duces tecum on Howard University (“HU”) on

 February 17, 2022. Plaintiff has been in ongoing discussions with HU regarding its productions;

 and

        6) Plaintiff served a third-party subpoena duces decum on Southern University System

 (“Southern”) on February 21, 2022.

 Attorneys Elizabeth Fegan, Je Yon Jung, LaRuby May, and Brooke Achua are responsible for

 these matters.

 The NCAA:

        The NCAA is still diligently making rolling document productions, given the large volume

 of data exceeding 260 GB involved in responding to Plaintiff’s comprehensive document requests.

 The parties had a useful meet and confer on February 28, 2022, regarding logistics related to using

 a technology assisted review platform (“TAR”) as part of the NCAA’s document review process.

 The parties anticipate having a follow up meeting regarding TAR logistics soon. The NCAA’s

 counsel, Chisara Ezie-Boncoeur and Brian Casey, are responsible.

 3. A detailed description of any discovery disputes presently pending, including the status
    of the resolution of the dispute and the identity of the counsel responsible for resolving
    the dispute.

 Plaintiff:

        Plaintiff agreed to hold the NCAA 30(b)(6) deposition, served on Defendant on February

 3, 2022, in abeyance pending Defendant’s “rolling production” representations. To date,

 Defendants have produced approximately 21,000 pages of documents. Plaintiff is in the process

 of reviewing these documents and will raise any deficiencies as they identify them. The majority

 of these documents are publicly available manuals spanning hundreds of pages. However, none of

 the 21,000 plus pages of documents have been identified to Plaintiff as to which documents



                                                 -3-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 4 of 9 PageID #: 569




 requests they are responsive nor have they been identified by subject matter. Plaintiff disagrees

 with Defendant’s position that all 21,000+ documents and the documents anticipated to be

 produced on a “rolling basis” in the future are in compliance with its obligations under Rule 34.

 The Plaintiff continues to be concerned with the limited information Defendant has provided to

 date regarding its proposed method of document production. However, Plaintiff will continue to

 work with Defendant to resolve its areas of concern. Attorneys Elizabeth Fegan, Je Yon Jung,

 LaRuby May, and Brooke Achua are responsible for this matter.

 The NCAA: In accordance with Federal Rule of Civil Procedure 34(b), the NCAA has produced

 documents as “they are kept in the usual course of business”, by producing each document with

 its respective metadata, detailing the exact manner in which each document was kept in the usual

 course of the NCAA’s business. To date, the NCAA has produced 452 documents totaling 21,137

 pages. Plaintiff requested that the NCAA identify by bates-number, each document produced by

 the NCAA that corresponds to each of Plaintiff’s 60 document requests. The NCAA has continued

 to produce documents as they are kept in the usual course of business because this approach

 complies with Rule 34(b), and it mitigates the substantial burden and expense associated with

 corresponding 452 documents and counting, to each of Plaintiff’s 60 requests for production.

     The parties met and conferred about this matter, and Plaintiff's counsel indicated that they did

 not agree with the NCAA's interpretation of Rule 34(b).

 4. A detailed description of all discovery that is planned to be completed within the 28-day
    period following the report, including the identity of the counsel responsible for
    completing such discovery.

 Plaintiff:

        1) Plaintiff anticipates proceeding with the 30(b)(6) of the NCAA previously noticed,

 particularly given Defendant’s ongoing discovery objections and productions, including its



                                                 -4-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 5 of 9 PageID #: 570




 position that it is not obligated to identify the documents that it has already produced as responsive

 to any particular requests by Plaintiff;

           2) Plaintiff anticipates additional 30(b)(6) depositions of Defendant NCAA;

           3) Plaintiff anticipates receiving responses to its third-party subpoenas to CCA, SSU,

 Southern, and HU; and

           4) Plaintiff anticipates additional third-party subpoenas to be issued during this period.

 Attorneys Elizabeth Fegan, Je Yon Jung, LaRuby May, and Brooke Achua are responsible for this

 matter.

 The NCAA: On March 4, 2022, the NCAA served a Notice of Subpoena Deuces Tecum for

 Savannah State University, the university that Plaintiff attended as a student-athlete.

           The NCAA is evaluating additional written discovery needs based on review and analysis

 of the discovery responses served by Plaintiff on February 28, 2022. Chisara Ezie-Boncoeur and

 Brian Casey, are responsible for developing the NCAA’s discovery plan.

 5. A description of all known discovery remaining to be completed in this matter, including
    a proposed timetable for the completion of such discovery and the identity of the counsel
    responsible for completing such discovery.

 Plaintiff:

           Plaintiff anticipates substantial ongoing discovery over the course of the next several

 months, including 30(b)(6) and fact depositions including, but not limited to, members of the

 HBCU Academic Advisory Group, NCAA’s corporate witnesses and 30(b)(6) witnesses, NCAA

 corporate and fact witnesses related to the APP and its various iterations, other fact witnesses, and

 expert witnesses (once disclosed). Plaintiff expects to provide further detail in this regard as

 discovery progresses and complete discovery responses are received from Defendant. Attorneys

 Elizabeth Fegan, Je Yon Jung, LaRuby May, and Brooke Achua are responsible for this matter.



                                                  -5-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 6 of 9 PageID #: 571




 The NCAA:

        Based on preliminary review of Plaintiff’s discovery responses served on February 28,

 2022, the NCAA is evaluating preparing third party discovery to serve on the Mid-Eastern Athletic

 Conference (“MEAC”), because Plaintiff alleges that he was subject to certain unidentified MEAC

 regulations.

        If this matter proceeds to the class certification stage and/or Plaintiff’s claims remain in

 this lawsuit, class based discovery concerning the numerosity of the proposed class, the amount in

 controversy under the Class Action Fairness Act, and whether or not common issues predominate

 over the individualized issues in this case will be needed. The NCAA’s counsel, Chisara Ezie-

 Boncoeur and Brian Casey, are responsible for developing the NCAA’s discovery plan.

 6. Any other discovery issues any party believes should be brought to the attention of the
    Court so as to avoid any further delays in the completion of discovery in this matter.

        The NCAA: Production of documents containing personally identifiable information

 related to non-party student-athletes implicates the Family Educational Rights and Privacy Act, 20

 U.S.C. § 1232g; 34 CFR Part 99, (“FERPA”), a federal statute whose purpose is to set out

 requirements for the protection of privacy of parents and students under section 444 of the General

 Education Provisions Act.1 The NCAA seeks the Court’s guidance on how to produce responsive

 documents that contain personally identifiable information of non-party student-athletes, such as

 whether this should be produced on an Attorneys’ Eyes Only basis, or with redactions, which we

 understand has associated burdens.

        For example, the NCAA’s Academic Performance Plan which is challenged in this lawsuit,

 assesses a sports team based on the calculation of each team member’s academic performance, not



 1
   See e.g., https://studentprivacy.ed.gov/node/548/#0.1_se34.1.99_11 at § 99.2 “What is the purpose of
 these regulations?”

                                                  -6-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 7 of 9 PageID #: 572




 the performance of one single student-athlete. Because Plaintiff participated on a basketball team

 with other student-athletes, in addition to the broad scope of Plaintiff’s document requests,

 responsive documents may include documents containing the type of personally identifiable

 information protected by FERPA, including, but not limited to: the names of non-party student-

 athletes and their family members, their addresses, emails, social security numbers or student

 identification numbers, school transcripts.

 Plaintiff:

           This is the first time that this issue has been formally raised by Defendant. Defendant has

 not held a meet and confer with Plaintiff regarding this issue. Plaintiff is aware of multiple avenues

 for protecting any Personally Identifiable Information, including anonymizing PII. Plaintiff does

 not believe an “Attorneys’ Eyes Only” designation is appropriate or necessary under the Court’s

 existing confidentiality order.


     DATED: March 7, 2022                           Respectfully submitted,

                                                    /s/ V. Chisara Ezie-Boncoeur
                                                    Victor D. Vital (Admitted Pro Hac Vice)2
                                                    victor.vital@btlaw.com
                                                    V. Chisara Ezie-Boncoeur
                                                    cezie@btlaw.com
                                                    Brian E. Casey
                                                    brian.casey@btlaw.com
                                                    BARNES & THORNBURG LLP
                                                    201 S. Main Street
                                                    South Bend, IN 46204
                                                    Telephone: 574-233-1171
                                                    Facsimile: 574-237-1125

                                                    Attorneys for Defendant the NCAA

                                                    AND



 2
     Mr. Vital can be contacted at Barnes & Thornburg LLP’s Dallas, Texas office.

                                                     -7-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 8 of 9 PageID #: 573




                                     By: /s/ Je Yon Jung
                                      Elizabeth A. Fegan (admitted pro hac vice)
                                      beth@feganscott.com
                                      FEGAN SCOTT LLC
                                      150 S. Wacker Dr., 24th Floor
                                      Chicago, IL 60606
                                      Telephone: (312) 741-1019
                                      Facsimile: (312) 264-0100

                                      Je Yon Jung (admitted pro hac vice)
                                      MAY LIGHTFOOT PLLC
                                      3200 Martin Luther King Jr. Ave. S.E.
                                      Third Floor
                                      Washington, DC 20032
                                      Telephone: (202) 918-1824
                                      Facsimile: (202) 918-1010
                                      jjung@maylightfootlaw.com

                                      LaRuby May (admitted pro hac vice)
                                      LIGHTFOOT PLLC
                                      3200 Martin Luther King Jr. Ave. S.E.
                                      Third Floor
                                      Washington, DC 20032
                                      Telephone: (202) 918-1824
                                      Facsimile: (202) 918-1010
                                      lmay@maylightfootlaw.com

                                      Brooke Achua (admitted pro hac vice)
                                      brooke@feganscott.com
                                      FEGAN SCOTT LLC
                                      150 S. Wacker Dr., 24th Floor
                                      Chicago, IL 60606
                                      Telephone: (646) 502-7910
                                      Facsimile: (312) 264-0100

                                      William N. Riley, Bar No.: 14941-49
                                      Russell B. Cate, Bar No.: 27596-29
                                      RILEYCATE, LLC
                                      11 Municipal Drive, Ste. 320
                                      Fishers, IN 46038
                                      Telephone: (317) 588-2866
                                      Facsimile: (317) 458-1875
                                      wriley@rileycate.com
                                      rcate@rileycate.com

                                      Attorneys for Plaintiff and the Proposed Class

                                      -8-
Case 1:20-cv-03172-RLY-MJD Document 81 Filed 03/07/22 Page 9 of 9 PageID #: 574




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been filed using this court’s ECF system and counsel of record for all parties will be served

 accordingly.

                                                      /s/ V. Chisara Ezie-Boncoeur
                                                      V. Chisara Ezie-Boncoeur




                                                -9-
